            Case 2:11-cr-00075-MCE Document 29 Filed 05/04/11 Page 1 of 3


1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    DOUGLAS BEEVERS, USVI Bar #766
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    CRESCENIO DELGADO-ESQUIVEL
7
8                            IN THE UNITED STATES DISTRICT COURT
9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )              No. 2:11-cr-00075-MCE
                                     )
12                  Plaintiff,       )
                                     )              STIPULATION AND ORDER TO CONTINUE
13        v.                         )              STATUS CONFERENCE
                                     )
14   CRESCENCIO DELGADO-ESQUIVEL,    )
     et al.,                         )              Date: June 23, 2011
15                                   )              Time: 9:00 a.m.
                    Defendants.      )              Judge: Hon. Morrison C. England
16                                   )
     _______________________________ )
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           IT IS HEREBY STIPULATED between the parties, SAMUEL WONG, Assistant
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     United States Attorney; DOUGLAS BEEVERS, Assistant Federal Defender,
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     attorney      for    defendant     CRESCENCIO     DELGADO-ESQUIVEL;      GILBERT       ROQUE,
20
     attorney      for    defendant     SALVADOR     JAMACICA-ARELANO;      that     the    status
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     conference of May 5, 2011 at 9:00 a.m., be vacated, and the matter be set
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     for status conference on June 23, 2011, at 9:00 a.m.
23
           The reason for the continuance to allow defense counsel additional
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     time to review the voluminous discovery and to investigate the facts of
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     the   case.    The    parties      agree   a   continuance     is   necessary    for   these
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     purposes,      and    agree   to    exclude     time   under    the   Speedy    Trial     Act
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     accordingly.
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           Case 2:11-cr-00075-MCE Document 29 Filed 05/04/11 Page 2 of 3


1         IT IS STIPULATED that the period from the date of the parties’
2    stipulation, May 3, 2011 and up to and including the June 23, 2011,
3    Status Conference, shall be excluded in computing the time within which
4    trial of this matter must be commenced under the Speedy Trial Act,
5    pursuant to 18 U.S.C §3161(h)(7)(A) and (B)(iv) and Local Code and T4
6    (ongoing preparation of defense counsel).
7    Dated: May 3, 2011                     Respectfully submitted,
8                                           DANIEL BRODERICK
                                            Federal Defender
9
                                            /s/ Doug Beevers
10                                          DOUG BEEVERS
                                            Assistant Federal Defender
11                                          Attorney for Defendant
                                            CRESCENCIO DELGADO-ESQUIVEL
12
     Dated: May 3, 2011                     /s/ Gilbert Roque
13                                          GILBERT ROQUE
                                            Attorney for Defendant
14                                          SALVADOR JAMACICA-ARELANO
15
     Dated: May 3, 2011                     BENJAMIN B. WAGNER
16                                          United States Attorney
17                                    By:   /s/ Samuel Wong
                                            SAMUEL WONG
18                                          Assistant U.S. Attorney
                                            Attorney for Plaintiff
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     Stip and Order                         -2-
           Case 2:11-cr-00075-MCE Document 29 Filed 05/04/11 Page 3 of 3


1                                           ORDER
2         UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
3    ordered that the status conference presently set for May 5, 2011, be
4    continued to June 23, 2011, at 9:00 a.m. Based on the representation of
5    defense counsel and good cause appearing therefrom, the Court hereby
6    finds that it is unreasonable to expect adequate preparation for pretrial
7    proceedings and trial itself within the time limits established in 18
8    U.S.C. § 3161, the requested continuance is necessary to provide defense
9    counsel reasonable time necessary for effective preparation, taking into
10   account the exercise of due diligence. The Court finds the ends of
11   justice   to   be   served   by   granting    a   continuance   outweigh   the   best
12   interests of the public and the defendants in a speedy trial.
13        It is ordered that time from the date of the parties’ stipulation,
14   May 3, 2011, up to and including, the June 23, 2011, status conference
15   shall be excluded from computation of time within which the trial of this
16   matter must be commenced under the Speedy Trial Act pursuant to 18 U.S.C.
17   §3161(h)(7)(A) and (B)(iv) and Local Code T4 (allow defense counsel
18   reasonable time to prepare).
19
     Dated: May 4, 2011
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21                                          _____________________________
                                            MORRISON C. ENGLAND, JR.
22
                                            UNITED STATES DISTRICT JUDGE
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     Stip and Order                          -3-
